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                     Case:.: ;3:19-mj-01445-BLM
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                                                                  Document 18 Filed 04/23/19 PageID.15 Page 1 of 1
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      AO    ~42   (Rev. 11/11                                 I                                                                               r-.,:.
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                  CLf.R:< :_•     '      ·,    i   i''"liNitED STATES DISTRICT COURT
            ~~~~~'_::;;~                                                       for the

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                                                                     Southern District of California                                      .'":f:.'~




                            United States of America
                                                                                                                                          -..
                                       v.                                        )                                                       Ce>
                                ANDREW MITCHELL                                  )       Case No.
                                                                                 )
                                                                                 )
                                                                                                         ,nMJ1445
                                                                                 )
                                                                                 )
                                       Defendant


                                                                    ARREST WARRANT
      To:          Any authorized law enforcement officer

                   YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
      (name ofperson to be arrested)           ANDREW MITCHELL
                                              ---------------------------------------------------------------------------
      who is accused of an offense or violation based on the following document filed with the court:

      0 Indictment                    0 Superseding Indictment           0 Information       0 Superseding Information                ~Complaint
      0 Probation Violation Petition                    0 Supervised Release Violation Petition        0 Violation Notice             0 Order of the Court

      This offense is briefly described as follows:     C
        On or about November 13, 2018, within the S~~~~~t~i                              _:~5 defendant Andrew MITCHELL, did knowingly
        and intentionally possess, with intent to distri ~~ mi _                      ub~l_;e   containing a detectable amount of
        methamphetamine; a Schedule II Controlled Su ~; ·                                ofTitle 21, United States Code, Section 841 (a)(1 ).




      Date:       1/Jt/1 f
      City and state:            San Diego, California                                      Hon. Barbara L.   ~-1a)_~r,__lj_.§_.   Magistrate Judge
                                                      "'!""                                               Printed name and title


                                                                               Return

                This warrant was received on (date) _______________ ,and the person was arrested on (date)
      at (city and state)


      Date:
                                                                                                       Arresting officer's signature



                                                                                                          Printed name and title




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